     Case 4:22-cv-00825-P Document 35 Filed 10/11/22              Page 1 of 3 PageID 1049



                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

ERIC JACKSON, ALARIC STONE, and                      )
MICHAEL MARCENELLE, on behalf of                     )
themselves and all others similarly situated,        )
                                                     )       Case No. 4:22-cv-00825-P
                       Plaintiffs,                   )
v.                                                   )
                                                     )
ALEJANDRO N. MAYORKAS, in his official               )
capacity as Secretary of Homeland Security,          )
LLOYD J. AUSTIN, III, in his                         )
official capacity as Secretary of Defense,           )
LINDA L. FAGAN, in her official                      )
capacity as Commandant of the Coast Guard, and       )
BRIAN K. PENOYER, in his official capacity           )
as Assistant Commandant for Human                    )
Resources of the Coast Guard,                        )
                                                     )
                       Defendants.                   )


      PLAINTIFFS’ CONSENTED MOTION FOR LEAVE TO FILE EXCESS PAGES

        Pursuant to Local Rule 7.1, and with Defendants’ consent, Plaintiffs hereby seek leave to

include 10 additional pages in their Reply in further support of their Motions for Class Relief

(ECF No. 4), with the Reply totaling 20 pages.

        Good cause supports this motion for leave. Plaintiffs’ original Memorandum in Support

of their Motions for Class Relief (ECF No. 5) is 25 pages. With leave to file an extra 20 pages,

Defendants filed a 45-page Opposition (ECF No. 30), together with numerous, voluminous

exhibits. Plaintiffs here request 10 additional pages for their Reply, beyond the 10 pages allowed

without leave, to address the many arguments in Defendants’ 45-page Opposition. If Plaintiffs

are granted leave, then the total number of pages of Plaintiffs’ opening and Reply briefs (45) will

equal the number of pages of Defendants’ Opposition brief.

        Plaintiffs’ Reply is due in three days, on October 14, 2022.

                                                 1
  Case 4:22-cv-00825-P Document 35 Filed 10/11/22                  Page 2 of 3 PageID 1050



       Defendants consent to this request for 10 additional pages.

       WHEREFORE, Plaintiffs request that the Court grant them leave to include 10 additional

pages (a total of 20 pages) in their Reply in further support of their Motions for Class Relief.




                             CERTIFICATE OF CONFERENCE

       I have conferred with counsel for Defendants about this motion for leave. Defendants’

counsel, Cody Knapp, told me that Defendants consented to this motion for leave.


/s/ Adam S. Hochschild
Adam S. Hochschild
Counsel for Plaintiffs




                                                 2
  Case 4:22-cv-00825-P Document 35 Filed 10/11/22             Page 3 of 3 PageID 1051



Dated: October 11, 2022

Respectfully submitted,

/s/ Adam S. Hochschild

Stephen Crampton, pro hac vice                     Charles W. Fillmore
THOMAS MORE SOCIETY – Senior Counsel               State Bar # 00785861
PO Box 4506                                        H. Dustin Fillmore III
Tupelo, MS 38803                                   State Bar # 06996010
(662)255-9439                                      THE FILLMORE LAW FIRM, L.L.P.
scrampton@thomasmoresociety.org                    201 Main Street, Suite 700
                                                   Fort Worth, TX 76102
Michael McHale, pro hac vice                       (817)332-2351
THOMAS MORE SOCIETY – Counsel                      chad@fillmorefirm.com
10506 Burt Circle, Ste. 110                        dusty@fillmorefirm.com
Omaha, NE 68114
(402)501-8586                                      Nathan Loyd, pro hac vice
mmchale@thomasmoresociety.org                      THOMAS MORE SOCIETY – Special Counsel
                                                   5101 Old Highway 5, Box 442
Adam S. Hochschild, pro hac vice                   Lebanon, GA 30146
Hochschild Law Firm                                (559)744-3664
THOMAS MORE SOCIETY – Special Counsel              nathaniel.loyd@thomasmoresociety.org
PO Box 401
Plainfield, VT 05667
(314)503-0326
adam@hochschildlaw.com

Mary Catherine Hodes, pro hac vice
THOMAS MORE SOCIETY – Special Counsel
112 S. Hanley Rd., Second Floor
Clayton, MO 63105
(314)825-5725
mchodes@thomasmoresociety.org

Paul M. Jonna*
LiMandri & Jonna LLP
THOMAS MORE SOCIETY – Special Counsel
P.O. Box 9120
Rancho Santa Fe, CA 92067
(858)759-994
pjonna@limandri.com

* pro hac vice application forthcoming

                                     Counsel for Plaintiffs

                                               3
